                                                         IT IS ORDERED
                                                        Date Entered on Docket: July 12, 2019




                                                        ________________________________
                                                        The Honorable Robert H Jacobvitz
                                                        United States Bankruptcy Judge

______________________________________________________________________
                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW MEXICO

  In re:
  GREGORY BLEA and
  ISABEL BLEA,
         Debtor(s)                                                       No. 19-10520-t7

      ORDER GRANTING THE CHAPTER 7 TRUSTEE’S APPLICATION AND
      AUTHORIZING AND APPROVING THE TRUSTEE’S RETAINMENT OF
  BK GLOBAL REAL ESTATE SERVICESTO PROCURE CONSENTED PUBLIC SALE
                      PURSUANT TO 11 U.S.C. § 327


         NOW the above-captioned matter comes before this Court upon the Application

  of the Chapter 7 Trustee, Philip Montoya, by and through his counsel of record, pursuant

  to 11 U.S.C. § 327, requesting approval and authority to retain BK Global Real Estate

  Services in this proceeding. The Trustee filed the Application on June 10, 2019 (Doc# 22),

  together with a Notice (Doc# 24), which provided for an objection deadline of July 5, 2019.

  The Trustee served the Application and Notice on the Office of the United States Trustee,

  Debtors’ counsel, the secured creditor(s) and all parties of interest in




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this matter on June 11, 2019 as shown within the certificate of service within the

Application and Notice.


      The Court, having jurisdiction herein, finds as follows:


      1.   Debtors filed for relief on March 11, 2019, under Chapter 7 of the United States

           Bankruptcy Code and Philip Montoya, is the duly qualified and acting Chapter

           7 Trustee of the bankruptcy estate of Gregory Blea and Isabel Blea.

      2. The Debtors scheduled an ownership interest in real property, legally

           described as follows:

                     Lot numbered Twenty-five (25) of Block numbered One (1),
                     Unit 12, Jade Park Mobile Home Subdivision, according to the
                     plat filed November 9, 1971, in the Office of the County Clerk
                     of Bernalillo County, New Mexico, EXCEPTING the westerly
                     one (1) foot of the above described lot which was deed to the
                     City of Albuquerque, New Mexico.

           hereinafter referred to as the “Real Property”.


      3. The bankruptcy estate now holds the undivided interest in and to the subject

           Real Property.

      4. The Debtors listed the Real Property within their schedules as having a value

           of $90,000.00.

      5. The Real Property is subject to the following mortgage(s) or lien(s):

              a. Mr. Cooper at an amount exceeding $112,817.53.

              b. City of Albuquerque with a water lien in the amount of $418.07.




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     6. Based upon the market value of the Real Property provided by the Debtors and

        the information regarding the mortgages/lines on this Real Property, the first

        mortgage debt is in excess of the market value of the Real Property.

     7. The Handbook for Chapter 7 Trustees published by the Executive Office of the

        United States Trustee, states on pages 4 – 14 under Section 9 “Sales of Assets”

        (a) General Standards “A trustee may sell assets only if the sale will result in a

        meaningful distribution to creditors. The Section further states “the trustee

        may seek a “carve-out” from a secured creditor and sell the property at issue if

        the “carve-out” will result in a meaningful distribution to creditors. Further,

        the Section states “The trustee must also consider whether the cost of

        administration or tax consequences of any sale would significantly erode or

        exhaust the estate’s equity interest in the asset.”

     8. BK Global Real Estate Services (“BK Global”) provides services to trustees as

        BK Global has expertise and experience in assisting the trustee in negotiating

        with secured creditors to accomplish the following:

           a. Sell the Real Property under 11 U.S.C. § 363(b) to whichever party the

               Chapter 7 Trustee determines to have made the best qualified offer with

               the sale approved by the Court, pursuant to 11 U.S.C. § 363;

           b. Obtain the release the senior mortgage and waive all of its claims against

               the estate with respect to the Real Property (including any deficiency

               claims resulting from the proposed sale);




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           c. Work with the secured mortgage holder to enter into an agreement for

               an 11 U.S.C. § 506 surcharge to pay all of the closing expenses associated

               with the § 363 sale, including the payment of a six percent (6%) real

               estate brokerage commission and reimbursement of their out-of-pocket

               expenses to BK Global and any associated real estate professional, paid

               from the proceeds of the sale, and provide a meaningful carve out for

               the benefit of allowed unsecured creditors of the Debtor(s)’ estate; and

           d. Make certain the amount of the carve out is clearly set out in the motion

               to sell the Real Property pursuant to 11 U.S.C. § 363.

     9. BK Global will assist the Chapter 7 Trustee in negotiations with the first

        mortgage holder to obtain the consent of the first mortgage holder for the sale

        of the Real Property. A carve out from the sale proceeds, such amount for the

        benefit of unsecured creditors of the bankruptcy estate, which will result in a

        meaningful distribution to the creditors, and upon a successful resolution with

        the secured creditor, a separate motion will be filed seeking approval of the

        settlement terms and conditions.

     10. BK Global will not be entitled to any fees if the first mortgage holder does not

        grant its consent or the Court does not grant the motion to approve the sale of

        the Real Property.

     11. In no event will the bankruptcy estate have any obligation to pay BK Global or

        associated real estate professional for their services, or to pay the customary

        title and closing services.    The terms of the listing agreement and this



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        Application provide that BK Global and listing agent are only entitled to

        payment if and when (a) secured creditor grants its consent, (b) the motion to

        approve sale is granted and (c) the Real Property is sold, in which event BK

        Global and listing agent will receive a six percent (6%) real estate brokerage

        commission and obtain reimbursement of any out-of-pocket expenses.

     12. The Trustee believes that the highest and best value for the Real Property will

        be generated through a sale in which the Real Property is widely marketed to

        the public and offered at the highest price that the market will bear. The

        Trustee further believes that such a sale is in the best interest of the Debtor(s)’

        bankruptcy estate, but can only be achieved if the secured creditor’s consent is

        first obtained. The Chapter 7 Trustee believes that retaining BK Global and/or

        an associated real estate professional to obtain the secured creditor’s consent is

        in the best interest of the Debtor(s)’ bankruptcy estate.

     13. The Trustee submits that the terms of employment and compensation as set

        out in this application and the listing agreement, are reasonable in light of the

        extensive experience of BK Global and any associated real estate professional,

        and the nature of the services they provide.

     14. BK Global attested that it is a disinterested person within the meaning of

        Section 101(14) of the Bankruptcy Code and Federal Rule of Bankruptcy

        Procedure 2014 and 2016(a). Attached to the Application as Exhibit “A” was

        the Affidavit of Disinterestedness of BK Global.         BK Global also attests,

        pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with



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          any individual or entity other than the listing agent or a buyer’s agent, if

          applicable.


       The Court, having reviewed the file herein and being fully advised, finds that good

cause exists to grant the Trustee’s Application and for the entry of this Order.


       IT IS, THEREFORE, BY THE COURT ORDERED that the Notice provided by

the Trustee on the Application to Retain BK Global Real Estate Services was due, proper

and sufficient, and no further or additional notice is necessary or required.


       IT IS BY THE COURT FURTHER ORDERED that the Application filed herein

by the Chapter 7 Trustee on June 10, 2019 is hereby APPROVED and the Chapter 7

Trustee is hereby AUTHORIZED to retain BK Global Real Estate Services in this case and

the compensation arrangements set forth in the listing agreement and this application,

pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code are hereby APPROVED.


       IT IS BY THE COURT FURTHER ORDERED that the proposed Real Estate

Listing Agreement is hereby APPROVED and the Chapter 7 Trustee is hereby

AUTHORIZED to execute the same on behalf of this bankruptcy estate as he deems

appropriate.


       IT IS SO ORDERED.




                                 ###END OF ORDER###


SUBMITTED BY:



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Filed electronically
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